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                             IN THE UNITED STATES DISTRICT COURT
                                 FOR THE DISTRICT OF NEBRASKA


UNITED STATES OF AMERICA,
                                                                       8:18CR243
                      Plaintiff,
                                                                         ORDER
       vs.

JERMAL BROWN

                      Defendant.



       This matter is before the court on the defendant’s Unopposed Motion to Continue Trial
[42]. Based on the reasons set forth in the motion, the court finds good cause has been shown
and the motion should be granted. Accordingly,

       IT IS ORDERED that the Unopposed Motion to Continue [42] is granted as follows:

       1. The jury trial, now set for March 12, 2019, is continued to June 4, 2019.

         2. In accordance with 18 U.S.C. § 3161(h)(7)(A), the court finds that the ends of justice
will be served by granting this continuance and outweigh the interests of the public and the
defendant in a speedy trial. Any additional time arising as a result of the granting of this motion,
that is, the time between today’s date and June 4, 2019, shall be deemed excludable time in any
computation of time under the requirement of the Speedy Trial Act. Failure to grant a
continuance would deny counsel the reasonable time necessary for effective preparation, taking
into account the exercise of due diligence. 18 U.S.C. § 3161(h)(7)(A) & (B)(iv).


       Dated this 22nd day of February 2019.


                                              BY THE COURT:

                                              s/Susan M. Bazis
                                              United States Magistrate Judge
